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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                              1/28/2021

UNITED STATES OF AMERICA,

                  -against-                           19 CR 449-01 (NSR)

ANTHONY LAURIA,                                     SCHEDULING ORDER

                              Defendant.

NELSON S. ROMÁN, United States District Judge:

      In light of the recent Coronavirus Disease 2019 ("COVID-19") pandemic

affecting New York, and given the directives provided by the Chief Judge of the

United States District Court for the Southern District of New York to limit in-

person court appearances due to the risk presented by COVID-19, it is hereby

      ORDERED that the above case is scheduled for a Pretrial Conference via

teleconference on February 2, 2021 at 1:00 pm.

      To access the teleconference, please follow these directions: (1) Dial the

Meeting Number: (877) 336-1839; (2) Enter the Access Code: 1231334 #; (3)

Press pound (#) to enter the teleconference as a guest.

      Prior to the teleconference, each Defendant's counsel shall either obtain

from Defendant a written or oral waiver of appearance and consent for counsel to

proceed telephonically either with or without Defendant present by telephone. If

counsel cannot obtain a written waiver from Defendant, counsel must provide an

affidavit confirming counsel has obtained Defendant's consent. The affidavit must

establish that counsel (1) consulted with Defendant regarding his or her right to be
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present at all conferences, (2) discussed with Defendant the current public health

emergency created by the COVID-19 pandemic and the restrictions to courthouse

access that have been implemented as a result, and (3) obtained Defendant's

consent to willingly and voluntarily give up his or her right to be present at

conferences for the period of time in which access to the courthouse has been

restricted on account of the COVID- 19 pandemic.1 The affidavit shall be e-filed

with the Court no later than one (1) day before the scheduled teleconference.

In preparation for and while engaging in a teleconference, please follow these

guidelines:

        1. Use a landline whenever possible.

        2. Use handset rather than speakerphone.

        3. Identify yourself each time you speak.

        4. Be mindful that, unlike in a courtroom setting, interrupting can render

          both speakers unintelligible.

        5. Mute when not speaking to eliminate background noise, i.e., dog

          barking, kids playing, sirens, papers shuffling, emails pinging,

          drinking, breathing. It all comes through. This will also prevent

          interruptions.

        6. Avoid voice-activated systems that don't allow the speaker to know

          when someone else is trying to speak and they cut off the beginning of

          words.
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         7. Spell proper names.

         8. Have judge confirm reporter is on the line.

         9. If someone hears beeps or musical chimes, that means someone has

           either come in or left the conference. Please be aware that the judge

           may need to clarify that the reporter has not lost the line. (This has

           happened before, and the reporter had to dial back in and tell the judge

           the last thing that the court reporter transcribed.)



                                                       SO ORDERED.
Dated:    January 28, 2021
          White Plains, New York

                                                        NELSON S. ROMÁN
                                                      United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                        WAIVER OF RIGHT TO BE PRESENT
                            -v-
                                                                        AT CRIMINAL PROCEEDING
                                    ,
                                       Defendant.                          -CR-      ( )( )
-----------------------------------------------------------------X

Check Proceeding that Applies

____     Arraignment

         I have been given a copy of the indictment containing the charges against me and have reviewed it
         with my attorney. I understand that I have a right to appear before a judge in a courtroom in the
         Southern District of New York to confirm that I have received and reviewed the indictment; to have
         the indictment read aloud to me if I wish; and to enter a plea of either guilty or not guilty before
         the judge. After consultation with my attorney, I wish to plead not guilty. By signing this document,
         I wish to advise the court of the following. I willingly give up my right to appear in a courtroom
         in the Southern District of New York to advise the court that:

              1) I have received and reviewed a copy of the indictment.
                 2)      I do not need the judge to read the indictment aloud to me.
                 3)      I plead not guilty to the charges against me in the indictment.

Date:              ____________________________
                   Signature of Defendant


                   ____________________________
                   Print Name


____     Conference Date:_____________________________________

         I have been charged in an indictment with violations of federal law. I understand that I have a right
         to be present at all conferences concerning this indictment that are held by a judge in the Southern
         District of New York, unless the conference involves only a question of law. I understand that at
         these conferences the judge may, among other things, 1) set a schedule for the case including the
         date at which the trial will be held, and 2) determine whether, under the Speedy Trial Act, certain
         periods of time should be properly excluded in setting the time by which the trial must occur. I
         have discussed these issues with my attorney and wish to give up my right to be present at the
         conferences. By signing this document, I wish to advise the court that I willingly give up my right
         to be present at the conferences in my case for the period of time in which access to the courthouse
         has been restricted on account of the COVID-19 pandemic. I request that my attorney be
         permitted to represent my interests at the proceedings even though I will not be present.



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Date:            ____________________________
                 Signature of Defendant


                 ____________________________
                 Print Name



I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the
indictment, my client’s rights to attend and participate in the criminal proceedings encompassed by this
waiver, and this waiver form. I affirm that my client knowingly and voluntarily consents to the proceedings
being held in my client’s absence. I will inform my client of what transpires at the proceedings and provide
my client with a copy of the transcript of the proceedings, if requested.

Date:            ____________________________
                 Signature of Defense Counsel


                 ____________________________
                 Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated
this document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:   _________________________
        Signature of Defense Counsel




Accepted:        ________________________
                 Signature of Judge
                 Date:




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